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 7   Individually and on behalf of all others similarly situated
 8
 9                           UNITED STATES DISTRICT COURT
10                                DISTRICT OF NEVADA
11
12        Lauren V. Quarberg, individually                      Case No: 2:19-cv-00518
          and on behalf of all others similarly
13        situated,                                             Class Action
14
                               Plaintiff,                       Complaint For Damages Under
15        v.                                                    the Fair Debt Collection Practices
16                                                              Act, 15 U.S.C. §§ 1692 et seq.
          David M. McGrath and Angelina
17        Tsu,                                                  Jury Trial Demanded
18
                               Defendants.
19
20
21                                              Introduction
22   1.        The United States Congress has found abundant evidence of the use of
23             abusive, deceptive, and unfair debt collection practices by many debt
24             collectors, and has determined that abusive debt collection practices
25             contribute to the number of personal bankruptcies, to marital instability, to the
26             loss of jobs, and to invasions of individual privacy. Congress wrote the Fair
27             Debt Collection Practices Act, 15 U.S.C. § 1692 et seq. (hereinafter
28             “FDCPA”), to eliminate abusive debt collection practices by debt collectors,

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 1         to insure that those debt collectors who refrain from using abusive debt
 2         collection practices are not competitively disadvantaged, and to promote
 3         consistent State action to protect consumers against debt collection abuses.
 4   2.    Lauren V. Quarberg (“Plaintiff”), through her attorneys, brings this action on
 5         her own behalf on behalf of those similarly situated, to challenge the actions
 6         of David M McGrath and Angelina Tsu (“Defendants”), with regard to debt
 7         collection attempts designed to unlawfully and abusively collect a debt
 8         allegedly owed by Plaintiff, causing Plaintiff and those similarly situated
 9         damages.
10   3.    Plaintiff makes these allegations on information and belief, with the exception
11         of those allegations that pertain directly to Plaintiff, which Plaintiff alleges on
12         her personal knowledge.
13   4.    While many violations are described below with specificity, this Complaint
14         alleges violations of the statutes cited in their entirety.
15   5.    Any violations by Defendants were knowing, willful, and intentional, and
16         Defendants did not maintain procedures reasonably adapted to avoid any such
17         specific violation.
18   6.    All violations alleged regarding the FDCPA are material violations of the
19         FDCPA as these violations would limit the ability of a hypothetical least
20         sophisticated debtor to make an intelligent choice as to the alleged debt and
21         actions that should be taken to resolve the alleged debt.
22                                       Jurisdiction and Venue
23   7.    Jurisdiction of this Court arises pursuant to 28 U.S.C. § 1331 (federal
24         question jurisdiction).
25   8.    This action arises out of Defendants' violations of the Fair Debt Collection
26         Practices Act, 15 U.S.C. §§ 1692 et seq. (“FDCPA”).
27   9.    Because Defendants do business with Nevada State Bank, and purposefully
28         directed their actions toward Nevada, personal jurisdiction is established.

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 1   10.    Venue is proper pursuant to 28 U.S.C. § 1391 because Defendants
 2          purposefully directed their actions toward Nevada, causing harm to Nevada
 3          consumers and because the underlying debts were issued in Nevada and all
 4          the underlying events described herein took place in Nevada.
 5   11.    At all times relevant, Defendants conducted business within the State of
 6          Nevada on behalf of Nevada State Bank.
 7                                                  Parties
 8   12.    Plaintiff is a natural person who resides in Clark County, Nevada.
 9   13.    Plaintiff is a natural person allegedly obligated to pay a debt, and is a
10          consumer as that term is defined by 15 U.S.C. § 1692a(3).
11   14.    Defendants are each attorneys who routinely file lawsuits against Nevada
12          consumers on behalf of Nevada State Bank.
13   15.    Defendants are each a “person” who uses an instrumentality of interstate
14          commerce or the mails in a business the principal purpose of which is the
15          collection of debts, or who regularly collect or attempt to collect, directly or
16          indirectly, debts owed or due or asserted to be owed or due another and are
17          therefore debt collectors as that phrase is defined by 15 U.S.C. § 1692a(6).
18                                          Factual Allegations
19   16.    The following is some of the information Plaintiff is currently aware of, and it
20          is expected that after Plaintiff conducts discovery, these allegations will be
21          bolstered and enhanced through said discovery.
22   17.    Plaintiff currently, and at all relevant times, lives and works in Clark County,
23          Nevada.
24   18.    Sometime before April 2017, Plaintiff opened an account with Nevada State
25          Bank, in Nevada. The card displayed “Nevada State Bank.”
26   19.    Whether a debt is actually owed by Plaintiff is irrelevant to this FDCPA
27          action.
28

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 1   20.    In April 2017, Defendants sued Plaintiff in Utah State Court in Salt Lake City
 2          County, Third Judicial District Court, case number 170902572, to collect
 3          money from Plaintiff based on the Nevada State Bank account (the “Utah
 4          collection lawsuit”).
 5   21.    Plaintiff has, and had, no connection to Utah whatsoever.
 6   22.    Defendants knew that Plaintiff lived in Nevada and listed Plaintiff’s address
 7          in Las Vegas in the Utah collection lawsuit filings.
 8   23.    Plaintiff was never notified about the Utah collection lawsuit and, therefore,
 9          did not respond.
10   24.    Plaintiff is not herein challenging the Utah court’s jurisdiction or the validity
11          of any judgment of any state court. In this case, Plaintiff specifically does not
12          claim the state court erred and does not seek as her remedy relief from any
13          state court judgment.
14   25.    After Plaintiff did not respond to the Utah collection lawsuit, Defendants
15          obtained a default judgment for the balance requested, interest, and attorney’s
16          fees and costs.
17   26.    Plaintiff only learned of the Utah collection lawsuit when Defendants, or their
18          agents, began to garnish Plaintiff’s wages in Las Vegas, in or around August
19          2018.
20   27.    Under 15 U.S.C. §1692i, Defendants may only file a complaint to collect on
21          an alleged debt “in the judicial district . . . (A) in which such consumer signed
22          the contract sued upon; or (B) in which such consumer resides at the
23          commencement of the action.”
24   28.    Plaintiff has no connection to Utah and never signed any contact in Utah.
25   29.    Plaintiff did not live in Utah at any time and, at all times, lived and worked in
26          Clark County, Nevada.
27   30.    By filing the Debt Collection Complaint in Utah, and not in Nevada,
28          Defendants violated 15 U.S.C. §1692i.

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 1   31.    Because of Defendants’ actions, Plaintiff was required to incur costs,
 2          including attorneys fees and other expenses for, including, but not limited to,
 3          challenging the judgment, garnishments, and obtaining documents and
 4          information about the Utah lawsuit, that she would not have had to incur had
 5          the lawsuit been properly filed in Nevada. Plaintiff further suffered
 6          humiliation, stress and anxiety when she learned that a judgment existed
 7          against her and her employer learned of the debts Plaintiff allegedly owed.
 8   32.    By filing the Utah collection lawsuit in a far away forum, Defendants
 9          deceptively and unfairly made it difficult, if not impossible, for Plaintiff and
10          other similar consumers to defend themselves. The purpose in this scheme
11          was to coerce Plaintiff and other consumers into immediately paying the debt
12          once they learned that a judgment existed and that their wages would be
13          garnished, rather than file a lawsuit in Nevada and provide Plaintiff her day in
14          court, as required under the FDCPA.
15   33.    Plaintiff has been required to retain the undersigned as counsel to protect her
16          legal rights and to prosecute this cause of action, and is therefore entitled to
17          actual damages under 15 U.S.C. § 1692k(a)(1), statutory damages up to
18          $1,000.00 pursuant to 15 U.S.C. § 1692k(a)(2)(A) and reasonable attorney’s
19          fees and costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendants.
20   34.    Furthermore, after Plaintiff’s counsel inquired, Defendants admitted to
21          engaging the above unlawful activity “on a somewhat regular basis.” Class
22          adjudication is therefore appropriate.
23                                      Class Action Allegations
24   35.     Plaintiff brings this action on behalf of herself and on behalf of all others
25           similarly situated (“the Class”), consisting of:
26
                 Class definition 1:
27
                 All persons who live in Nevada, and against whom Defendants
28

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                 filed a lawsuit in Utah to collect debt allegedly owed to Nevada
 1
                 State Bank, or its affiliates, within one year prior to the filing of
 2               this Complaint.
 3
                 Class definition 2:
 4
                 All persons who live in Nevada, and against whom Defendants
 5
                 filed a lawsuit in Utah to collect debt allegedly owed to Nevada
 6               State Bank, or its affiliates, and who learned of the lawsuit
                 within one year prior to the filing of this Complaint.
 7
 8
     36.     Defendants and its employees or agents are excluded from the Class.
 9
             Plaintiff does not know the number of members in the Class, but believe the
10
             Class members number in the hundreds, if not more. Thus, this matter should
11
             be certified as a Class action to assist in the expeditious litigation of this
12
             matter.
13
     37.     This suit seeks only damages for recovery of economic injury on behalf of
14
             the Class, and it expressly is not intended to request any recovery for
15
             personal injury and claims related thereto. Plaintiff reserves the right to
16
             expand the Class definition to seek recovery on behalf of additional persons
17
             as warranted as facts are learned in further investigation and discovery.
18
     38.     The joinder of the Class members is impractical and the disposition of their
19
             claims in the Class action will provide substantial benefits both to the parties
20
             and to the Court. The Class can be identified through Defendants’ records or
21
             Defendants’ agents’ or clients’ records.
22
     39.     There is a well-defined community of interest in the questions of law and
23
             fact involved affecting the parties to be represented. The questions of law
24
             and fact to the Class predominate over questions which may affect individual
25
             Class members.
26
     40.     Plaintiff is asserting claims that are typical of the Class. Plaintiff will fairly
27
             and adequately represent and protect the interests of the Class in that Plaintiff
28
             has no interests antagonistic to any member of the Class.

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 1   41.     Plaintiff and the members of the Class have all suffered irreparable harm as a
 2           result of Defendants’ unlawful and wrongful conduct.
 3   42.     Absent a class action, the Class will continue to face the potential for
 4           irreparable harm.        In addition, these violations of law will be allowed to
 5           proceed without remedy and Defendants will likely continue such illegal
 6           conduct. Because of the size of the individual Class members’ claims, few, if
 7           any, Class members could afford to seek legal redress for the wrongs
 8           complained of herein.
 9   43.     Plaintiff has retained counsel experienced in handling class action claims and
10           claims involving violations of the FDCPA.
11   44.     A class action is a superior method for the fair and efficient adjudication of
12           this controversy. Class-wide damages are essential to induce Defendants to
13           comply with federal law. The interest of Class members in individually
14           controlling the prosecution of separate claims against Defendants is small
15           because the maximum statutory damages in an individual action for violation
16           of the FDCPA is minimal. Management of these claims is likely to present
17           significantly fewer difficulties than those presented in many class claims.
18   45.     Defendants have acted on grounds generally applicable to the Class, thereby
19           making appropriate final relief with respect to the Class as a whole.
20                                           Causes of Action
21                                                 Count I
22                         Fair Debt Collection Practices Act (FDCPA)
23                                      15 U.S.C. §§ 1692 et seq.
24   46.    Plaintiff repeats, re-alleges, and incorporates by reference, all other
25          paragraphs.
26   47.    The foregoing acts and omissions constitute numerous and multiple violations
27          of the FDCPA, including but not limited to each and every one of the above-
28          cited provisions of the FDCPA, 15 U.S.C. § 1692 et seq.

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 1   48.    As a result of each and every violation of the FDCPA, Plaintiff is entitled to
 2          any actual damages pursuant to 15 U.S.C. § 1692k(a)(1); statutory damages in
 3          pursuant to 15 U.S.C. § 1692k(a)(2)(A); and, reasonable attorney’s fees and
 4          costs pursuant to 15 U.S.C. § 1692k(a)(3) from Defendant.
 5                                           Prayer for Relief
 6   49.    WHEREFORE, Plaintiff prays that judgment be entered against Defendant,
 7          and that Plaintiff be awarded damages from Defendants, as follows:
 8          •      Certify the Class as requested herein;
 9          •      Appoint Plaintiff to serve as the Class Representative in this matter;
10          •      Appoint Plaintiff’s Counsel as Class Counsel in this matter;
11          •      An award of actual damages pursuant to 15 U.S.C. § 1692k(a)(1);
12          •      An award of statutory damages pursuant to 15 U.S.C. § 1692k(a)(2)(A);
13          •      An award of costs of litigation and reasonable attorney’s fees, pursuant
14                 to 15 U.S.C. § 1692k(a)(3); and
15          •      Any other relief the Court may deem just and proper.
16                                             Trial by Jury
17   50.    Pursuant to the seventh amendment to the Constitution of the United States of
18          America, Plaintiff is entitled to, and demands, a trial by jury.
19   DATED this 26th day of March 2019.
20                                                        Respectfully submitted,
21                                                        KAZEROUNI LAW GROUP, APC
22
                                                          By: /s/ Michael Kind
23                                                            Michael Kind, Esq.
24                                                            6069 S Fort Apache Road, Suite 100
                                                              Las Vegas, Nevada 89148
25                                                            Attorneys for Plaintiff
26
27
28

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